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Attorneys for Defendant Apple Inc.



                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
SOCIAL TECHNOLOGIES LLC, a Georgia         )   CASE NO.: 3:18-cv-05945-VC
limited liability company,                 )
                                           )   Hon. Vince Chhabria
               Plaintiff,                  )
                                           )   DECLARATION OF DIANA M. TORRES IN
       vs.                                 )   SUPPORT OF APPLE INC.’S MOTION FOR
                                           )   SUMMARY JUDGMENT AND IN
APPLE INC., a California corporation,      )   OPPOSITION TO SOCIAL
                                           )   TECHNOLOGIES LLC’S MOTION FOR
               Defendant.                  )   SUMMARY JUDGMENT
                                           )




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I, Diana M. Torres, declare as follows:

       1.      I am a partner at Kirkland & Ellis LLP. I represent Defendant Apple Inc. (“Apple”)

in this action. I submit this declaration in support of Apple Inc.’s Motion of Summary Judgment.

       2.      I have personal knowledge of all facts stated in this declaration.

       3.      Attached hereto as Exhibit 1 is a true and correct copy of an email chain among

Social Technologies LLC (“Social Tech”) and I. FlexDev (“FlexDev”) personnel Justin Grant

(“Grant”) and Idrees Ashraf (“Ashraf”) with subject line Memoji Translations, dated from July 6 to

July 14, 2018, produced as SocialTech_0000796 through SocialTech_0000799, and used as Exhibit

80 to the June 12, 2019 deposition of Grant.

       4.      Attached hereto as Exhibit 2 is a true and correct copy of an email chain among

Social Tech., Grant, and Ashraf with subject line MEMOJI | Stage 1, dated from June 7 to June 18,

2018, produced as SocialTech_0000752 through SocialTech_0000758, and used as Exhibit 75 to the

June 12, 2019 deposition of Grant.

       5.      Attached hereto as Exhibit 3 is a true and correct copy of the file wrapper for Serial

No. 86/961,925, MEMOJI, produced as APL-STECH_00000165 through APL-STECH_00000286,

and used as Exhibit 227 to the July 3, 2019 deposition of Samuel Bonet (“Bonet”).

       6.      Attached hereto as Exhibit 4 is a true and correct copy of excerpts from the transcript

of the July 3, 2019 deposition of Bonet.

       7.      Attached hereto as Exhibit 5 is a true and correct copy of the homepage for

thememojiapp.com as of Dec. 20, 2014, produced as APL-STECH_00000023 through APL-

STECH_00000025.

       8.      Attached hereto as Exhibit 6 is a true and correct copy of excerpts from Apple’s

Responses and Objections to Social Tech’s First Set of Interrogatories, dated March 18, 2019.

       9.      Attached hereto as Exhibit 7 is a true and correct copy of the Apple Webpage titled

“Use Memoji on your iPhone X or iPad Pro” as of September 19, 2019, produced as

SocialTech_0001279 through SocialTech_0001282.




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       10.     Attached hereto as Exhibit 8 is a true and correct copy of a compendium of publicly

available articles describing Apple’s Memoji software feature.

       11.     Attached hereto as Exhibit 9 is a true and correct copy of excerpts from the transcript

of the June 21, 2019 deposition of Kurt Knight (“Knight”).

       12.     Attached hereto as Exhibit 10 is a true and correct copy of excerpts from the

transcript of the June 18, 2019 deposition of Thomas R. La Perle (“La Perle”).

       13.     Attached hereto as Exhibit 11 is a true and correct copy of excerpts from the

transcript of the June 8, 2019 deposition of Cameron Ehrlich (“Ehrlich”).

       14.     Attached hereto as Exhibit 12 is a true and correct copy of the spreadsheet titled

“Total number of downloads by year and state,” with last download date of July 18, 2018, which was

used as Exhibit 119 to the June 20, 2019 deposition of Michael Jaynes (“Jaynes”).

       15.     Attached hereto as Exhibit 13 is a true and correct copy of the spreadsheet which was

used as Exhibit 130 to the June 20, 2019 deposition of Jaynes.

       16.     Attached hereto as Exhibit 14 is a true and correct copy of Lucky Bunny’s press kit

for its app, produced as LB000339 through LB000342.

       17.     Attached hereto as Exhibit 15 is a true and correct copy of a compendium of social

media posts from celebrities and other endorsers relating to Lucky Bunny’s MEMOJI App.

       18.     Attached hereto as Exhibit 16 is a true and correct copy of a video clip of The Ellen

DeGeneres Show, produced as APL-STECH_00006230.

       19.     Attached hereto as Exhibit 17 is a true and correct copy of an audio clip of The

Howard Stern Show, produced as APL-STECH_00006225.

       20.     Attached hereto as Exhibit 18 is a true and correct copy of a compendium of

promotional materials from national press sources relating to Lucky Bunny’s MEMOJI App.

       21.     Attached hereto as Exhibit 19 is a true and correct copy of the file wrapper for Serial

No. 86/438,926, MEMOJI, produced as APL-STECH_00000138 through APL-STECH_00000164.

       22.     Attached hereto as Exhibit 20 is a true and correct copy of the file wrapper for Serial

No. 87/397,135, MEMOJI, produced as APL-STECH_00000287 through APL-STECH_00000382.


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       23.     Attached hereto as Exhibit 21 is a true and correct copy of the Trademark Agreement

between Lucky Bunny LLC, Big 3 Ent, LLC and Memofun Apps LLC, dated May 31, 2018,

produced as APL-STECH_00000867 through APL-STECH_00000876, and used as Exhibit 101 to

the June 18, 2019 deposition of La Perle.

       24.     Attached hereto as Exhibit 22 is a true and correct copy of the Trademark

Assignment between Memofun Apps LLC and Apple Inc., dated June 4, 2018, produced as APL-

STECH_00000855, and used as Exhibit 107 to the June 18, 2019 deposition of La Perle.

       25.     Attached hereto as Exhibit 23 is a true and correct copy of the Apple Press Release

titled “Apple previews iOS 12” and produced as APL-STECH_00000578 through APL-

STECH_00000591.

       26.     Attached hereto as Exhibit 24 is a true and correct copy of the Apple Press Release

titled “Apple previews iOS 13,” dated August 2, 2019, and used as Exhibit 335 to the September 20,

2019 deposition of Dr. Anindya Ghose (“Ghose”).

       27.     Attached hereto as Exhibit 25 is a true and correct copy of excerpts from the

transcript of the June 11, 2019 deposition of Robert Long (“Long”).

       28.     Attached hereto as Exhibit 26 is a true and correct copy of Plaintiff’s Objections and

Responses to Defendant’s Second Set of Interrogatories, dated May 10, 2019.

       29.     Attached hereto as Exhibit 27 is a true and correct copy of Social Tech’s LinkedIn

Page, preserved Oct. 1, 2018, produced as APL-STECH_00000512 through APL-

STECH_00000513, and used as Exhibit 235 to the July 3, 2019 deposition of Bonet.

       30.     Attached hereto as Exhibit 28 is a true and correct copy of excerpts from the

transcript of the June 12, 2019 deposition of Grant.

       31.     Attached hereto as Exhibit 29 is a true and correct copy of an email from Grant to

Social Tech with subject line Payment, dated Dec. 9, 2018, produced as FlexDevGrant_0543

through FlexDevGrant_0546, and used as Exhibit 72 to the June 12, 2019 deposition of Grant.




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        32.     Attached hereto as Exhibit 30 is a true and correct copy of an email from Social Tech

to Ashraf and Grant with subject line MEMOJI | Stage 1, dated June 7, 2018, and produced as

SocialTech_0000774.

        33.     Attached hereto as Exhibit 31 is a true and correct copy of a letter from Gregori

Mavronicolas (“Mavronicolas”) to La Perle with subject line “MEMOJI” Trademark, dated June 13,

2018.

        34.     Attached hereto as Exhibit 32 is a true and correct copy of a letter from Glenn

Gunderson (“Gunderson”) to Mavronicolas with subject line MEMOJI trademark - Apple / Social

Technologies, dated June 14, 2018.

        35.     Attached hereto as Exhibit 33 is a true and correct copy of a letter from Mavronicolas

to Gunderson with subject line “MEMOJI” Trademark, dated June 22, 2018.

        36.     Attached hereto as Exhibit 34 is a true and correct copy of the Apple Press Release

titled “Highlights from WWDC 2018,” dated June 4, 2019, and produced as APL-

STECH_00000461 through APL-STECH_00000466.

        37.     Attached hereto as Exhibit 35 is a true and correct copy of a Google report with

subject line “Install Counts” for Social Tech’s MEMOJI app, produced as GOOG-MEMO-

00000009.

        38.     Attached hereto as Exhibit 36 is a true and correct copy of excerpts from the

transcript of the June 25, 2019 deposition of Christopher Anthony (“Anthony”).

        39.     Attached hereto as Exhibit 37 is a true and correct copy of the log concerning the

status and availability of Mr. Anthony’s app, which used the word “Memoji,” produced as APL-

STECH_00012764 through APL-STECH_00012766, and used as Exhibit 215 to the June 27, 2019

deposition of Stoney Gamble (“Gamble”).

        40.     Attached hereto as Exhibit 38 is a true and correct copy of excerpts from the

transcript of the June 27, 2019 deposition of Gamble.




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       41.     Attached hereto as Exhibit 39 is a true and correct copy of the spreadsheet produced

as APL-STECH_00001335 through APL-STECH_00001337, and used as Exhibit 129 to the June

20, 2019 deposition of Jaynes.

       42.     Attached hereto as Exhibit 40 is a true and correct copy of excerpts from the

transcript of the June 20, 2019 deposition of Jaynes.

       43.     Attached hereto as Exhibit 41 is a true and correct copy of the Trademark Agreement

between Christopher Anthony and Social Technologies LLC dated May 13, 2019, produced as

SocialTech_0000870 through SocialTech_0000886, and used as Exhibit 189 to the June 25, 2019

deposition of Anthony and the July 3, 2019 deposition of Bonet.

       44.     Attached hereto as Exhibit 42 is a true and correct copy of a screenshot of the

SocialTechnologiesLLC/Memoji-iOS GitHub, produced as SocialTech_0000887, and used as

Exhibit 233 during the deposition of Bonet.

       45.     Attached hereto as Exhibit 43 is a true and correct copy of an email alert from Wells

Fargo to S. Bonet titled “You sent money with Zelle” concerning payment to “Justin Grant” and

other payment alerts related to Social Tech’s Memoji App, produced as SocialTech_0000905

SocialTech_0000907 and FlexDevGrant_0231, and used as Exhibit 279 to the July 3, 2019

deposition of Bonet.

       46.     Attached hereto as Exhibit 44 is a true and correct copy of an email from Social Tech

to Grant with subject line Memoji Functionality Description, dated June 6, 2018, produced as

FlexDevGrant_0176, and used as Exhibit 237 to the July 3, 2019 deposition of Bonet.

       47.     Attached hereto as Exhibit 45 is a true and correct copy of an email chain among

Social Tech, Grant, and Ashraf with subject line Memoji Release for iOS and Android, dated from

June 26 to June 28, 2018, produced as FlexDevGrant_0430 through FlexDevGrant_0441, and used

as Exhibit 79 to the June 12, 2019 deposition of Grant.

       48.     Attached hereto as Exhibit 46 is a true and correct copy of the Apple App Store

Preview Page for Lucky Bunny’s MEMOJI app, produced as LB000818.




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       49.     Attached hereto as Exhibit 47 is a true and correct copy of a video excerpt of the

MEMOJI announcement from June 4, 2018 Apple WWDC 2018 Keynote presentation in San Jose,

California, available at https://www.youtube.com/watch?v=UThGcWBIMpU.

       50.     Attached hereto as Exhibit 48 is a true and correct copy of a printout of the Twitter

page for @Thememojiapp.

       51.     Attached hereto as Exhibit 49 is a true and correct copy of the declaration of Andreas

Groehn (“Groehn”), dated July 31, 2019.

       52.     Attached hereto as Exhibit 50 is a true and correct copy of excerpts from the

transcript of the September 20, 2019 deposition of Groehn.

       53.     Attached hereto as Exhibit 51 is a true and correct copy of a screenshot displaying

Apple’s software feature, produced as APL-STECH_00008926.

       54.     Attached hereto as Exhibit 52 is a true and correct copy of screenshots from Apple’s

iPhone X Animoji demonstration, available at:

https://www.youtube.com/watch?v=VPWQrNQICU0, released Sept. 14, 2017.

       55.     Attached hereto as Exhibit 53 is a true and correct copy of the Facebook Ads

Manager for Bonet, produced as SocialTech_0000854.

       56.     Attached hereto as Exhibit 54 is a true and correct copy of an invoice from FlexDev

to Bonet, dated Sept. 10, 2018, produced as FlexDevGrant_0067 through FlexDevGrant_0068, and

used as Exhibit 87 to the June 12, 2019 deposition of Grant.

       57.     Attached hereto as Exhibit 55 is a true and correct copy of the Apple Webpage titled

“Apple Trademark List,” as it existed on October 21, 2019.

       58.     Attached hereto as Exhibit 56 is a true and correct copy of the Google Play Webpage

for Social Tech’s MEMOJI app, as it existed on October 21, 2019.

       59.     Counsel for Anthony, Michael Ahmadshahi, sent a letter dated January 9, 2019 to

myself and J. Pierce. In the letter, he asserted Anthony’s rights to the MEMOJI Trademark and

infringement by Apple and Social Tech. This communication was the first communication that




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Apple received on Anthony’s behalf related to any alleged trademark rights held by Anthony in

MEMOJI.

I declare under the penalty of perjury under the laws of the United States that the foregoing is true

and correct.



Dated: October 30, 2019                           /s/ Diana M. Torres
                                                  Diana M. Torres (S.B.N. 162284)

                                                  Attorney for Defendant Apple Inc.




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